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    5 Attorneys for Receiver,
      Thomas W. McNamara
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    7
    8                       UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10
   11 FEDERAL TRADE COMMISSION,                    Case No. 2:18-cv-09573-JFW (JPRx)
   12                     Plaintiff,               RECEIVER’S NOTICE OF
                                                   MOTION AND MOTION FOR
   13        v.                                    AUTHORIZATION TO ENGAGE
                                                   CONTINGENT FEE COUNSEL
   14 APEX CAPITAL GROUP, LLC, et al.,
                                                   JUDGE:     Hon. John F. Walter
   15                     Defendants.              CTRM:      7A
                                                   DATE:      March 9, 2020
   16                                              TIME:      1:30 p.m.
   17
   18
   19        TO THE HONORABLE JOHN F. WALTER, UNITED STATES
   20 DISTRICT COURT JUDGE, AND TO ALL PARTIES AND THEIR
   21 ATTORNEYS OF RECORD:
   22        PLEASE TAKE NOTICE that on March 9, 2020 at 1:30 p.m. in
   23 Courtroom 7A of the United States District Court for the Central District of
   24 California, located at 350 W. First Street, Los Angeles, California, Thomas W.
   25 McNamara, the Court-appointed receiver of the Receivership Entities, will present
   26 his Motion for Authorization to Engage Contingent Fee Counsel.
   27        This motion is made following the conference of counsel pursuant to
   28 L.R. 7-3 which took place on January 27, 2020. Counsel for the Federal Trade
                                         1       Case No. 2:18-cv-09573-JFW (JPRx)
        RECEIVER’S MOT. FOR AUTHORIZATION TO ENGAGE CONTINGENT FEE COUNSEL
Case 2:18-cv-09573-JFW-JPR Document 144 Filed 02/04/20 Page 2 of 3 Page ID #:4408




    1 Commission does not take a position on this motion. Although William I.
    2 Rothbard remains counsel of record for Defendants Phillip Peikos, Apex Capital
    3 Group, LLC, Capstone Capital Solutions Limited, Clik Trix Limited, Empire
    4 Partners Limited, Interzoom Capital Limited, Lead Blast Limited, Mountain
    5 Venture Solutions Limited, Nutra Global Limited, Omni Group Limited,
    6 Rendezvous IT Limited, Sky Blue Media Limited, and Tactic Solutions Limited,
    7 Mr. Rothbard stated that he no longer represents Mr. Peikos or the Corporate
    8 Defendants. Both Mr. Rothbard and the undersigned counsel informed Mr. Peikos
    9 of the motion, but Mr. Peikos did not respond. DuFord Law, counsel of record for
   10 Defendant David Barnett, did not state a position on the motion. Since Kelly
   11 DuFord of DuFord Law previously stated that her firm no longer represents Mr.
   12 Barnett, the undersigned counsel informed Mr. Barnett of the motion, but Mr.
   13 Barnett did not respond.
   14        This motion is supported by this notice of motion and motion, the
   15 concurrently filed memorandum of points and authorities, all pleadings and records
   16 on file, and any argument heard hereon.
   17 Dated: February 4, 2020               MCNAMARA SMITH LLP
   18
                                            By: /s/ Edward Chang
   19                                         Edward Chang
                                              Attorneys for Receiver,
   20                                         Thomas W. McNamara
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                                         2       Case No. 2:18-cv-09573-JFW (JPRx)
        RECEIVER’S MOT. FOR AUTHORIZATION TO ENGAGE CONTINGENT FEE COUNSEL
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    1                             CERTIFICATE OF SERVICE
    2         I hereby certify that on February 4, 2020, I caused the foregoing to be
    3 electronically filed with the Clerk of the Court using the CM/ECF system, which
    4 will send notification of the filing to all participants in the case who are registered
    5 CM/ECF users.
    6
    7  /s/ Edward Chang
      Edward Chang
    8 Attorney for Receiver,
      Thomas W. McNamara
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                                                              Case No. 2:18-cv-09573-JFW (JPRx)
                                                                    CERTIFICATE OF SERVICE
